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AO 9l (Rev_ ll-"‘l ll Criminal Comp|aim

 

 

UNITED STATES DISTRICT COURT

for the
Southern Di strict of Texas

 

 

United States of America )
V- )
Joel Gerardo TORRES-Sanchez § Case ND'
and
Miriam Magdalena oJEoA-Hemandez §
l
Defendontl'§)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best ofmy knowledge and belief.
011 or about the date(s) of __ October 19. 2018 in the county of Webb _ in the
Southern District of _ Texas _ _ ,the defendant(s) violated:
Code Sech`on O]j‘"ense Descripl;`on
21 U.S.C. 952(3) and 963 The defendants did knowingly and unlawfully import into the United States

from Tne Uniled Nlexican Slates a controlled substance listed under
Schedule ll of the Control|ed Subsiance Act, to wil; approximately 26.‘¥6
kilograms of cocaine. Furthermore, the defendants did knowingly and
unlawfully conspired to unlawfully import the above listed cocaine

This criminal complaint is based on these facts:

See Attachment A.

d Continued on the attached sheet.

lsi Omar Davis

 

(.`ompl'a.immr '3 signature

Omar Davis, HSl Special Agent

 

Pr.»'nred name and rifle

Swom to before me and signed in my presence

Date: 10!22,'2013

 

Jua'ge 's signature

City and state: Laredo. Texas Sarn Sheldon, U.S. Magistraie Judge
Pl'£nred name and title

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Attachment “A”

I, Omar Davis, a Special Agerlt with l-Iorneland Security Investigations, have knowledge of the
following facts:

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On October 19, 2018, Joel Gerardo TORRES-Sanchez and Miriarn Magdalena
OJEDA-Hernandez, both citizens of Mexico attempted to make entry into the United
States (U.S.) from Mexico through the Lincoln Juarez Port of Entry in Laredo, Texas
in a silver/gray colored BMW Sports Utility Vehicle (SUV). TORRES-Sanchez was
the driver and OJEDA-Hernandez was the passenger They both are Non-Immi grant
visa holders and presented their duly issued form DSP-ISO (Border Crossing Cards)
to the Customs and Border Protection Oft`lcers (CBPOS) working the primary lane.

CBPO saw they were from Monterrey Mexico and they entered the U.S. on October
4, 2018 and returned to Mexico the next day. OJEDA-Hernandez avoided eye
contact with the CBPO. She looked concerned and worried as additional questions

were asked. These red flags caused the CBPO to escort them to secondary for further
inspection

Once at secondary inspection, TORRES-Sanchez told the CBPO they were trying to
make it to San Antonio, TX before sundown. The CBPO saw an anomaly in the rear
driver’s side tire with his naked eye. TORRES"SancheZ said the vehicle was his,
along with everything in it.

TORRES-Sanchez was asked if he had anything to declare such as fruits, vegetables,
plants, seeds, narcotics, or money over $l0,000. When the CBPO mentioned

narcotics, TORRES-Sanchez laughed and both he and OJEDA-l-Iernandcz tried to
answer.

Their vehicle was then x-rayed. Anomalies were discovered in all 4 tires, and in the
floor panels Further inspection with a CBP K-9 resulted in a positive alert to the
vehicle. Thc tires were removed from the Vehicle for further inspection. CBPOS
discovered 24 bundles containing a white powdery substance concealed within all 4
tires. The bundles field tested positive for the characteristics ot` cocaine

The total weight of the seized cocaine was approximately 26.16 kilograms gross
weight

Homeland Security lnvestigations (HSI) Special Agents (SAs) read TORRES-
Sanchez his Miranda Rights in the Spanish language TORRES-Sanchez requested
an attorney and questioning ceased.

HSI SAs then approached OJEDA-Hemandez. As biographical information was
being taken from her, she asked HSI SAs agents why was she being held. HSl SAs

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10.

ll.

12.

told her there were drugs in her vehicle OJEDA-Hernandez then requested an

attomey. Questioning ceased and she was placed in a cell. OJEDA-Hernandez’s
Miranda Rights had yet to be read to her.

OJEDA-Hemandez was brought back out of the cell for further biographical
information Once out of the cell, OJEDA-Hemandez looked at one of the BMW
tires and said, “that’s my tire”. HSl SAs asked her how do you know? OJEDA-
Hernandez replied “because it’s a BMW tire l already know there’s drugs in it
because agents told me.”

O]EDA-Hernandez further stated she and TORRES-Sanchez are in the middle of a

divorce and he ruined her life OJEDA-l-lernandez stated the car is under her name,
but it belongs to TORRES-Sanchez.

Record checks were performed on the license plate of the BMW SUV. The checks
revealed that TORRES-Sanchez and OJEDA-Hernandez previously crossed into the
United States in this vehicle on October 4, 201 S, through the Lincoln Juarez POE in
Laredo, TX. On the same date, the BMW SUV crossed through the United States
Border Patrol Checkpoint located on mile marker 29 of IH-35, north of

Lareclo. TORRES-Sanchez was the driver and an unknown female was the
passenger. On October 5, 2018, the vehicle returned to Mexico.

TORRES-Sanchez and OJEDA-Hemandez are both being charged with 21 USC
952(a) and 963.

